                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA.                            )
                                                     )
              v.                                     )        CASE NO. DNCW3:09CR211-03
                                                     )        (Financial Litigation Unit)
MITCHELL KEITH KLEINMAN.                             )

                                           ORDER

       THIS MATTER IS BEFORE THE COURT on the Request for a Hearing filed by

Defendant on October 29, 2012 (Docket No. 138). The Government is not seeking to attach,

sell or otherwise dispose of any property that is subject to exemptions. Defendant, therefore,

has no legal basis to claim an exemption or to request a hearing regarding exemptions. Further,

Defendant has in no way challenged the government=s compliance with statutory requirements in

seeking the Writ of Execution. Based on the foregoing, Defendant is not entitled to a hearing.

       IT IS, THEREFORE, ORDERED that Defendant=s request for a hearing is DENIED.

       SO ORDERED.


                                         Signed: December 19, 2012




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